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SUPERIOR COURT {)F NEW JERSEY
CHANCERY DIVISION: BERGEN CO[JN l Y
DOCK'ET NG. F-4723 4-09

This Order has been prepared and filed by the Court.

 

Emigrant Mol'tgage ` m ACTION
Flaz`ntz_`;%s'), ` 'GRDER '
vs. ' .
Calltl Developrnent lnc, et al . F'L ED
Defendam@_ ` HAY 22 2§{3
` GEME§§SCA‘A

 

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This matter being opened to the Court and ft)r good cause appearing

I'l` is on this 2»2’"f of May 2013,

 
 

_ j\([ ORDE at the foreclosure sale schad or May 24, and y is
adjourn until 13; and it is .

FURTHER. ORDERED that defendant(s). debt to tbs plaintiff from this date shall be at

MW\)

GEVLLD C. EsCALA, J_s.c_

the rate set forth in the note and not at the judgment rate.

PRESENT I`N COURT.'
chba.rd Epstein Esq. By phane‘
Mark Carter Esq, Attorneyfm_' Def\'endan£s'

 

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SUPERIOR COURT OF NEW .IERSEY

MENELAOS W. TUSKOS, J.S_C. BERGE`N C`OUNTY .T[,_ISTICE CENTER

 

CHANCERY orvisioN seas 424
HACICWSACK, N.J, 67601
(201) 52”1»26?5
Januaiy 17, 2014
insane A. epstein nsq. was A. capaza, n
2 Bncks Lane and Higbway 79 - Suite 3 660 Kinderkamack Road
Marlboro, New Jersey 07?46 Oradell, New Jersey 0?649

Re: Emigrant Mortgage Company, inc.. v. Cabn DevelopnienL inc.,

l\»iicbael D’Antonio and S_liirle.t Meek

Doclcet NO. F-472`34-09
Dear Counsel:

'l`lie court has before it a motion by the defendants to vacate a sherift’s sale that occurred
on_Decernber 6, 2013.

Cairn Deveiopr_nent, Inc. (“Calin”) is the owner of property located at 316 Bast Allendale
Avenne, Allendaie, New iersey. ll)ef_endant1 Michael D’Antonio is the principal of Ca]m. On
March 10, 2006 Cali_n and D’Antonio executed a note to plaintiff in the amount of $605,000
secured by a mortgage on 316 E. Ailendale Avennel

On April l, 2009 defendants defaulted on the loan No payment has been made since.
On September 2, 2009 this Cornplaint in Foreclosure WB filed. Defendants eventually filed an
answer and counterclaini. On Septernber 8, 2010 the Honorable Peter E. Doyne granted
summary judgment to plaintiff striking defen'dants’ answer and counterclaim and authorizing
final judgment be entered by the Office of Foreclosure. Eventually after further proceedings
before lodge Doyne, Final Jndginent was entered on Deceniber 31, 2012.

A sheriffs sale Was initially scheduled for May 24, 2013. As set forth in the concise

certification of plaintiffs counsei, Richard A. Epstein, on `May 22, 2013 counsel for defendants

 

 

 

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lanuary 17, 2014
Re: Emigrant Mortgage Company, lnc. v. Calrn Developrnent, lnc.,

Michael D’Antonio and Shirley Meelc

Doclret No. l~`-47234-09
filed an emergent application to stay the sale which was denied by lodge Gerald Escala. On May
23, 2013 an application for reconsideration was denied by ledge Robert Contilio. Calm then
iled a Chapter 7 bankruptcy petition on May 24, 2013 staying the plaintiffs sale. That petition
Was dismissed on lane 18, 2013. The sale Was rescheduled to luly 12, 2013 then adjourned to
August 2, then to August 16J 2013, Au'gust 30, 2013, Septernber 6, 2013, October 4, 2013,
November i, 2013 and finally December 6, 2013.

line continued adjournments were prompted by Calni’s second filing of a Cbapter ll
petition in bankruptcy This too Was dismissed by ludge Dona.ld Stecl<roth on November 12,

n 2013 at winch time he barred any re-fding for a period of 180 days At the time of the sherin”s

sale, defendants owed in excess of $.960,000. Plaintift’s counsel provided notice by regular mail
to the defendants directly and to counsel for defendants via fax, for each scheduled sheriffs sale.

Defendants’ counsel now requests the court set aside the sheriffs sale explaining that
because of health issues he Was not aware of the sale until shortly before it occurred The
argument being advanced that but for counsel’s health issues a motion for reconsideration of the
dismissal of the bankruptcy action Would have been made to lodge Steckroth and if granted “. . .
the Banl:ruptcy Court Would still have complete jurisdiction.” Reinstatement of the Bankruptcy
litigation Would also allow the defendants to prosecute their claim “of fraud and undue influence
by many public entities”.

Defendants do not seek vacation of the sheriffs sale for the opportunity to exercise a

right of redemption but to place the sale on hiatus pending an application to reinstate the

bankruptcy case. Independent_ of any statute or rule of court, the Chancery Division also has

 

 

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sanitary 17, 2014
Re: Emigrant Mortgage Company, Inc. V. Ca].rn Development, lnc.,

Michael D’Antonio and Shirley Meel<:

Docltet l\lo._ F-47234-09

inherent power to set aside a sale or to order redemption when there is an independent ground for
equitable relief, such as fraud accidei;lt,7 surprise, irregularity in the sale, and the like Crane y.

Bielsl<i, 15 N.J. 342, 346 10¢ A.2d 651 (1954)_ The power of the court to set aside such sale is

 

unquestionable, “but its exercise, like all other judicial action, must always reset upon some
consideration ofj.ustice.” l-layes v. Stiger, 29 N.l. E'q 196, 197 (Ch. 1878)'.

A sale should only be set aside in rare instances when necessary for compelling reasons
to remedy a plain injustice Karel v. Davis_, 122 N.J. Eq. 526, 529 (E. & A. 1937). A judicial
sale may be set aside “for fraud, accident, surprise, or mistake, irregularities in the conduct of the
sale, or for other equitable considerations.” First Trnst Nat’l Ass"n v. Merola, 319 N..l. Super.
44, 50 (App. Diy. 1999). However, “[t]he power to set aside a foreclosure sale is to be exercised

with great care and only when necessary for compelling reasons.” E. lersey Sav. & Loan Ass’n

 

v. Shatto 226 N..l. Super. 473, 476 544 A.2d 899 (Ch. Diy. 1987). F`mally, the burden of proof
to set aside a foreclosure sale is on the party seeking this-relief id 476.

Applying die above standard1 the court makes die following Endings and conclusions of
law. First, although defendants’ counsel may not have been aware of the pending December 6
saIe, notice was proper and it was sent to defendants who failed to take any reasonable action
State v. Eatontown Borough, 366 N.i. Super. 626 (A.D. 2004}.

Neither equitable considerations nor the interests of justice warrant this court setting
aside a sheriffs sale then staying the sale indefinitely until a motion is made (which may or may
not be granted) and a bankruptcy case litigated Furthermore, defendants still have an

opportunity to file the motion, and pursue their remedies through the bankruptcy court. Ihe

 

 

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lanuary 17, 2014 t
Re: Eroigrant Mortgage Coinpa'nyJ lnc. v. Calm Development, lnc.,

Michael D’Antonio and Shirley l\/leek

Do`cl<:et No. F~47234-09
nexus between the sale of this property and the claims of haud defendants seek to litigate in the
bankruptcy court has never been established Defendants have not explained why over the four
and oneahalf years since the commencement of the foreclosure suit these daudulent claims'have
not been asserted sooner. Wh'ile the court is sympathetic to defense counsel’s debilitating health,
under the circumstances presented it does not factor in this decision l-lad defense counsel '
appeared and requested an indefinite adjournment of the sheriH` sale to pursue reinstatement of
the bankruptcy caseJ that request would have been denied 'I`he court in evaluating the equities
must consider that plaintiff has not received one payment in almost five years
Additionally, plaintiff has been saddled with carrying charges such that the amount owed is
increasing significantly Also, it is uncertain whether ludge Steclrroth would grant the motion
while the sale of the property does not impede defendants nom filing their motion or pursuing
their fraud claims

Finally, there has been no showing of any J‘i:aud., accident, surprise, mistake or
irregularity in the conduct of the sale As such, the court determines that defendants have not

- met their burden to establish compelling reasons making it necessary for this court to remedy a

plain injustice by vacating the Deccmher 6, 2013 sheriffs sale. Defendants7 application is,

Menelaos W. Tosl;os, J.S.C.

therefore, denied

MW'l`/ds

 

 

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SUPBRIOR COURT OF l‘t"EW }'ERSEY
CHAN CE-RY DIVISION: BER{JE N COUN l"t'
DGCKET NO. F- 47234- 09

This Ordel' has been prepared and filed by the_(..`.ourt.

 

EMIGR_ANT MORTG'AGE CO.

CIVIL ACTIGN
Ptdtnt{'fj"(a), QRDER
vs. l _ _
CALM DEVELGPMENT, ll‘-lC., et al ' F"-ED
l Dej%'ndmzf(’s). MAY t ll 2014
GERAL`}'}J'§CF:ESCALA

 

This matter being opened to the Coun and for good cause appearing for the reasons

stated on the record
tr is an this 14'"* day ames 2014 ` . ,H..»»»~-
VM OHDEI{ED, that the executi_o:le?di'e'l)'rdb? editor Writ of Eviction seized or
fay 14J 2014 i 's matter be and it hereby is stayed until ____”____q _,`201»€\1
l f W

GER.ALD C ESCALA, l S. C

 
   

PRESENF IN COURT:

Richard S. Epstein Esq., By phone

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